      Case 1:23-mi-99999-UNA Document  2282-12 Filed 07/19/23 Page 1 of 2e-Filed 5/18/2023 9:01 AM
                                 2023CV00526




                                                                                                          Tiki Brown
                                                                                                 Clerk of State Court
                     IN THE STATE COURT OF CLAYTON COUNTY                                   Clayton County, Georgia
                                                                                                      Latasha Currie
                                STATE OF GEORGIA

RONALD WRIGHT,                               )
                                             )
               Plaintiff,                    )       CIVIL ACTION FILE NO.: 2023CV00526
       v.                                    )
                                             )
SANCHEZ ARREDONDO and                        )
COBRA CARRIER, LLC,                          )
                                             )
               Defendants.                   )

                            DEMAND FOR TWELVE-PERSON JURY

       COMES NOW, Defendants, Sanchez Arredondo and Cobra Carrier, LLC, and hereby

demands a trial by jury of 12 persons as to all issues raised in the pleadings pursuant to O.C.G.A.

§ 15-12-122.

       Respectfully submitted, this 18th day of May, 2023.

                                                 FAIN, MAJOR & BRENNAN, P.C.

                                                 /s/ Robyn M. Roth
                                                 ROBYN M. ROTH
One Premier Plaza                                Georgia Bar No. 153025
5605 Glenridge Drive NE, Suite 900               Counsel for Defendants Sanchez Arredondo and
Atlanta, GA 30342                                Cobra Carrier, LLC
(404) 688-6633
rroth@fainmajor.com
      Case 1:23-mi-99999-UNA Document  2282-12 Filed 07/19/23 Page 2 of 2
                                 2023CV00526




                     IN THE STATE COURT OF CLAYTON COUNTY
                                STATE OF GEORGIA

RONALD WRIGHT,                                )
                                              )
               Plaintiff,                     )       CIVIL ACTION FILE NO.: 2023CV00526
       v.                                     )
                                              )
SANCHEZ ARREDONDO and                         )
COBRA CARRIER, LLC,                           )
                                              )
               Defendants.                    )

                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served the foregoing Demand for Twelve Person

Jury with the Clerk of Court using Odyssey eFileGA which will automatically send e-mail

notification of such filing to all parties of record and/or by depositing a copy of same with the

United States Postal Service, with first class postage prepaid, as follows:

                                      Edward Hardrick, Esq.
                                    Morgan & Morgan, PLLC
                                   178 S. Main Street, Unit 300
                                      Alpharetta, GA 30009
                                   ehardrick@forthepeople.com

       Respectfully submitted, this 18th day of May, 2023.

                                                  FAIN, MAJOR & BRENNAN, P.C.

                                                  /s/ Robyn M. Roth
                                                  ROBYN M. ROTH
One Premier Plaza                                 Georgia Bar No. 153025
5605 Glenridge Drive NE, Suite 900                Counsel for Defendants Sanchez Arredondo and
Atlanta, GA 30342                                 Cobra Carrier, LLC
(404) 688-6633
rroth@fainmajor.com
